                 Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 1 of 6 Page ID #:364

                                                       United States District Court
                                                       Central District of California
                                                                SENTENCING
 UNITED STATES OF AMERICA vs.                                               Docket No.            CR 07-1049 ABC/CR 07-1163 (3)

               Charles Leroy Twyman (1)
 Defendant     Charles Leroy Twyman (3)                                     Social Security No. 8         1   6    4
       Charles Lee Twyman; Terrence Lee Muldrew;
                                                                            (Last 4 digits)
 akas: Terrance Lee Muldrew; Terry Muldrew

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                   MONTH     DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.       05     21        12

  COUNSEL                                                               Fred McCurry, CJA
                                                                           (Name of Counsel)

     PLEA           / GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                  NOT
                                                                                                              CONTENDERE              GUILTY
  FINDING           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Conspiracy to Manufacture, Possess with Intent to Distribute, and Distribute Cocain Base 21: 841: as
                   charged in the Count One of the Indictment in CR 07-1049 ABC; Felon in Possession of a Firearm 18:
                   922 (g)(1) as charged in the Single-Court Indictment in CR 07-1163 ABC.
JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER            custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately.

All fines are waived as it is found that such sanction would place an undue burden on the defendant's
dependents.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Charles
Leroy Twyman, is hereby committed on Count One of the Indictment in CR 07-1049, and on the Single-Count
Indictment in CR 07-1163 to the custody of the Bureau of Prisons to be imprisoned for a term of 120 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of four (4)
years under the following terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the U. S. Probation Office and
                    General Order 05-02;

         2.         The defendant shall refrain from any unlawful use of a controlled substance. The defendant
                    shall submit to one drug test within 15 days of release from imprisonment/placement of
                    probation and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
                    directed by the Probation Officer;

CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 5
                  Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 2 of 6 Page ID #:365

 USA vs.         Charles Leroy Twyman (1)/ Charles Leroy Twyman (3)    Docket No.:   CR 07-1049 ABC/ CR 07-1163 ABC



         3.          The defendant shall participate in an outpatient substance abuse treatment and counseling
                     program that includes urinalysis, breath, and/or sweat patch testing, as directed by the Probation
                     Officer. The defendant shall abstain from using illicit drugs and alcohol, and abusing
                     prescription medications during the period of supervision;

         4.          During the course of supervision, the Probation Officer, with the agreement of the defendant and
                     defense counsel, may place the defendant in a residential drug treatment program approved by
                     the United States Probation Office for treatment of narcotic addiction or drug dependency, which
                     may include counseling and testing, to determine if the defendant has reverted to the use of
                     drugs, and the defendant shall reside in the treatment program until discharged by the Program
                     Director and Probation Officer;

         5.          As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating
                     the defendant’s drug dependency to the aftercare contractor during the period of community
                     supervision, pursuant to 18 U.S.C. § 3672. The defendant shall provide payment and proof of
                     payment as directed by the Probation Officer;

         6.          During the period of community supervision the defendant shall pay the special assessment in
                     accordance with this judgment’s orders pertaining to such payment;

         7.          The defendant shall not obtain or possess any driver’s license, Social Security number, birth
                     certificate, passport or any other form of identification in any name, other than the defendant’s
                     true legal name; nor shall the defendant use, of any purpose or in any manner, any name other
                     than his true legal name or names without the prior written approval of the Probation Officer;


         8.          The defendant shall cooperate in the collection of a DNA sample from the defendant.



It is ORDERED that defendant continue medical treatment at Metropolitan Detention Center (MDC), until transferred
to the designated BOP facility, treatment to remain in effect.


Court strongly recommends due to defendant’s health that defendant be housed at a location that will cater to all health
needs.


The Court further recommends consistent with space and security concerns of the Bureau of Prison, that defendant be
designated at Terminal Island, to be close to family and friends.


It is recommended that the Bureau of Prison evaluate defendant to participate in RDAP drug treatment program.




CR-104 (03/11)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                 Page 2 of 5
                  Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 3 of 6 Page ID #:366

 USA vs.         Charles Leroy Twyman (1)/ Charles Leroy Twyman (3)                    Docket No.:        CR 07-1049 ABC/ CR 07-1163 ABC


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            May 23, 2012
            Date                                                                                 U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                            Clerk, U.S. District Court



            May 23, 2012                                             By     A. Bridges
            Filed Date                                                      Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                 time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                    of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




CR-104 (03/11)                                       JUDGMENT & PROBATION/COMMITMENT ORDER                                                                 Page 3 of 5
                  Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 4 of 6 Page ID #:367

 USA vs.         Charles Leroy Twyman (1)/ Charles Leroy Twyman (3)              Docket No.:      CR 07-1049 ABC/ CR 07-1163 ABC


             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                       1. Special assessments pursuant to 18 U.S.C. §3013;
                       2. Restitution, in this sequence:
                                 Private victims (individual and corporate),
                                 Providers of compensation to private victims,
                                 The United States as victim;
                       3. Fine;
                       4. Community restitution, pursuant to 18 U.S.C. §3663©; and
                       5. Other penalties and costs.

                                 SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                        Page 4 of 5
                  Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 5 of 6 Page ID #:368

 USA vs.         Charles Leroy Twyman (1)/ Charles Leroy Twyman (3)              Docket No.:      CR 07-1049 ABC/ CR 07-1163 ABC


      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (03/11)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
          Case 2:07-cr-01163-ABC Document 95 Filed 05/23/12 Page 6 of 6 Page ID #:369
                                                                                                                     CLEAR FORM



                                       NOTICE PARTY SERVICE LIST
Case No.       CR 07-1049/CR 07-1163            Case Title U.S.A. -VS- Charles Leroy Twyman (1)/(3)
Title of Document JUDGMENT AND COMMITMENT ORDER

        ADR                                                         ✔      US Attorneys Office - Civil Division -L.A.

        BAP (Bankruptcy Appellate Panel)                                   US Attorneys Office - Civil Division - S.A.
 ✔      BOP (Bureau of Prisons)                                     ✔      US Attorneys Office - Criminal Division -L.A.

        CA St Pub Defender (Calif. State PD)                               US Attorneys Office - Criminal Division -S.A.

        CAAG (California Attorney General’s Office -                       US Bankruptcy Court
        Keith H. Borjon, L.A. Death Penalty Coordinator)
                                                                    ✔      US Marshal Service - Los Angeles (USMLA)
        Case Asgmt Admin (Case Assignment
        Administrator)                                                     US Marshal Service - Riverside (USMED)

        Chief Deputy Admin                                                 US Marshal Service -Santa Ana (USMSA)

        Chief Deputy Ops                                           ✔       US Probation Office (USPO)

        Clerk of Court                                                     US Trustee’s Office

        Death Penalty H/C (Law Clerks)                                     Warden, San Quentin State Prison, CA

        Dep In Chg E Div
                                                                            ADD NEW NOTICE PARTY
        Dep In Chg So Div                                                   (if sending by fax, mailing address must also be
                                                                            provided)
  ✔     Federal Public Defender
                                                                   Name:
  ✔     Fiscal Section
                                                                   Firm:
        Intake Section, Criminal LA
                                                                   Address (include suite or floor):
        Intake Section, Criminal SA
        Intake Supervisor, Civil
        MDL Panel                                                  *E-mail:
        Ninth Circuit Court of Appeal                              *Fax No.:
                                                                   * For CIVIL cases only
        PIA Clerk - Los Angeles (PIALA)
                                                                           JUDGE / MAGISTRATE JUDGE (list below):
        PIA Clerk - Riverside (PIAED)
        PIA Clerk - Santa Ana (PIASA)
  ✔     PSA - Los Angeles (PSALA)
        PSA - Riverside (PSAED)
        PSA - Santa Ana (PSASA)

        Schnack, Randall (CJA Supervising Attorney)                                            Initials of Deputy Clerk AB


        Statistics Clerk

G-75 (08/08)                                      NOTICE PARTY SERVICE LIST
